                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                      )
                                                )
                               Plaintiff,       )
                                                )
 v.                                             )
                                                )                    No. 3:19-CR-218-TAV-DCP
                                                )
 GLENN FRED GLATZ,                              )
                                                )
                               Defendant.       )


                                            ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation as may be appropriate. This case

 is before the Court on Defendant Glenn Fred Glatz’s Motion to Continue Evidentiary Hearing

 [Doc. 28], filed on November 3, 2020. The Defendant asks the Court to continue the November

 4, 2020 motion hearing and, if necessary, the March 2, 2021 trial date. He contends that defense

 counsel needs additional time to discuss the pending motions and the presentation of these

 motions with him, which discussions have been impeded by restrictions relating to the COVID-

 19 pandemic. Additionally, counsel needs additional time to prepare for the evidentiary hearing,

 to include meeting administrative requirements for subpoenaing some witnesses. Defendant asks

 the Court to continue the evidentiary hearing to February 4, 2021, at 9:30 a.m., for which both

 parties are available. He states that the parties may ask the Court to move the hearing to an

 earlier date (prior to February 4), if circumstances permit. Finally, the Defendant states that if

 the continuance of the motion hearing requires that the trial date also be continued, he would so




Case 3:19-cr-00218-TAV-DCP Document 29 Filed 11/06/20 Page 1 of 2 PageID #: 95
 move. The Government has confirmed with Chambers that it does not oppose a continuance of

 the motion hearing.

        The Court finds the Defendant has shown good cause to continue the November 4

 evidentiary hearing on his suppression motions [Docs. 19 & 20] and that the request is not

 opposed by the Government. Accordingly, the Defendant’s Motion to Continue Evidentiary

 Hearing [Doc. 28] is GRANTED in part, in that the evidentiary hearing on the pending

 suppression motions is reset to February 4, 2021, at 9:30 a.m. The Court declines to continue

 the March 2, 2021 trial date at this time, in light of the possibility that the evidentiary hearing

 could be moved up at the parties’ request. However, the Court finds that the Defendant or the

 parties jointly may move to continue the trial at the evidentiary hearing.

        IT IS SO ORDERED.

                                                       ENTER:


                                                       _________________________
                                                       Debra C. Poplin
                                                       United States Magistrate Judge




                                                  2

Case 3:19-cr-00218-TAV-DCP Document 29 Filed 11/06/20 Page 2 of 2 PageID #: 96
